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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                      Case No. 1:21-CR-99

v                                                              Hon. Janet T. Neff

JONATHAN JOSHUA MUNAFO,

            Defendant.
____________________________________/

                 ORDER DETERMINING DEFENDANT’S COMPETENCE
                              TO STAND TRIAL

               On June 15, 2021, the Court, on its own motion, moved for a hearing to determine

defendant’s competence to stand trial and sanity pursuant to 18 U.S.C. §§ 4241 and 4242, and for

a psychiatric and/or psychological evaluation to aid in that determination. By order dated June 15,

2021, defendant was committed to the custody of the Attorney General for a competency

examination (ECF No. 15).

               Upon receipt of the assessment, a hearing was held this date, pursuant to 18 U.S.C.

4241(c). Defendant was present with his counsel. The parties received and reviewed the evaluation

and do not contest it. No further evidence or argument was offered by either party.

               The issue before the Court is whether it has been established by a preponderance of

the evidence that the defendant is presently suffering from a mental disease or defect rendering him

mentally incompetent to the extent that he is unable to understand the nature and consequences of

the proceeding against him, or to assist properly in his own defense, or that he was insane at the time

of the offense. 18 U.S.C. § 4241(d). The psychological evaluation, which was accepted without

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objection, finds that defendant is competent to stand trial, and was not insane at the time of the acts

alleged in the indictment. It is unnecessary to further recite the specific findings of the evaluation,

which the Court adopts in its entirety.

               Based upon the uncontroverted findings of the psychologist contained in the mental

health evaluation, I do not find by a preponderance of the evidence that the defendant is presently

suffering from a mental disease or defect rendering him mentally incompetent to the extent that he

is unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense, or that he was insane at the time of his offense. Accordingly, I find the

defendant mentally competent to stand trial.

               IT IS SO ORDERED.


Dated: November 29, 2021                       /s/ Ray Kent
                                               RAY KENT
                                               United States Magistrate Judge




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